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                             UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS

EDWARD RASCHEN,                     )
                                    )
                  Plaintiff,        )
                                    )
v.                                  )     CASE NO. 6:20-cv-01018-KHV-ADM
                                    )
UNIFIED SCHOOL DISTRICT NO. 506 )
ALTAMONT, KS,                       )
                                    )
                  Defendant.        )
______________________________________________________________________________

      RULE 41(a)(1)(A)(ii) STIPULATION FOR DISMISSAL WITH PREJUDICE
______________________________________________________________________________

        Pursuant to Federal Rule of Civil Procedure 41(a), Plaintiff, Edward Raschen, and

Defendant, Unified School District No. 506, by and through undersigned counsel, stipulate to

dismiss Plaintiff’s Complaint and all causes of action against Defendant, USD 506, with prejudice,

each party to bear its own fees and costs

Date:      July 19, 2022

                                                              /s/ Christopher A. McElgunn
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In the United States District Court for the District of Kansas
Edward Raschen v. Unified School District No. 506, Altamont, KS
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                                                             /s/ Terelle A. Mock
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                               CERTIFICATE OF SERVICE
       I hereby certify that on the 19th day of July, 2022, I electronically filed the above with

the Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing

to all counsel of record.

                                      _/s/ Brian J. Lawler
                                        Brian J. Lawler
